Case 1:11-cr-00129-RJJ         ECF No. 150, PageID.565           Filed 02/06/15      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:11-CR-129

v.                                                          HON. ROBERT HOLMES BELL

DENISE ANN HENDRIX,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Denise Ann Hendrix has filed a motion for modification or reduction of sentence

(ECF No. 144) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, because both counts of conviction are controlled by guidelines related to a firearm

offense, the Probation Office has now found Defendant ineligible for a reduction in sentence under

Guideline Amendment 782. No objections have been filed to the Report of Eligibility within the

time frame prescribed.
Case 1:11-cr-00129-RJJ       ECF No. 150, PageID.566          Filed 02/06/15   Page 2 of 2




       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(ECF No. 144) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




Dated: February 6, 2015                     /s/ Robert Holmes Bell
                                            ROBERT HOLMES BELL
                                            UNITED STATES DISTRICT JUDGE
